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                                       No. 19-683C
                                   (Filed May 31, 2019)
                                 NOT FOR PUBLICATION

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RYAN P. SLAUGHTER,                       *
                                         *
                    Plaintiff,           *
                                         *
      V.                                 *
                                         *
THE UNITED STATES,                       *
                                         *
                    Defendant.           *
                                *
* * * * * * * * * * * * * * * ***

                                        ORDER

      On May 16, 2019, SC Jones Services, Inc., the awardee, filed a motion to
intervene in this bid protest pursuant to Rule 24(a) of the Rules of the United
States Court of Federal Claims (RCFC). ECF No. 8. On July 17, 2019, the
undersigned allowed for an opposition paper to be filed by plaintiff, who is
proceeding in this matter prose. ECF No 12. Plaintiff opposes the awardee's
intervention on the ground that plaintiff views his dispute as being only with the
government. Id. at 1-2.t

      Under RCFC 24(a), the awardee has a clear right to intervene in a bid protest
in which that award is being challenged, when intervention has been moved for in a
timely fashion. See RCFC 24(a) (stating that the court must permit any timely
intervention where the movant has an interest that may be impaired by the action
and would not be adequately represented otherwise). An intervenor under RCFC
24(a) must "demonstrate (1) an interest in the subject matter of the litigation; (2) an
impairment of that interest if intervention is denied; and (3) inadequate


t He also contends that SC Jones's counsel will have access to his proprietary
information. But plaintiff could request a protective order to restrict dissemination
of proprietary information, and file any papers referencing such information under
seal. See RCFC App. C ,r,r 16-20; RCFC App. of Forms, Form 8.
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representation of its interest by the parties in the action." Am. Renovation & Const.
Co. v. United States, 65 Fed. CL 254, 259 (2005).

      An awardee can readily meet these prongs because of its economic interest in
maintaining the award that is the subject matter of the litigation---the impairment
of which is evident by the loss of the contract---and because the government's
interest in a contract is not equivalent to a contractor's economic interest in
maintaining its position as awardee. Since plaintiff does not contend that SC Jones
Services has failed to meet the above prongs and the motion has been timely filed,
the motion to intervene is hereby GRANTED pursuant to RCFC 24(a).


IT IS SO ORDERED.




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